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 Attorney or Party Name, Address, Telephone & FAX               FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Leslie A. Cohen, Esq. (SBN: 93698)
 leslie@lesliecohenlaw.com
 J’aime K. Williams Esq. (SBN 261148)
 jaime@lesliecohenlaw.com
 LESLIE COHEN LAW, PC
 1615-A Montana Avenue
 Santa Monica, CA 90403
 Telephone: (310) 394-5900
 Facsimile: (310) 394-9280



     Attorney for: Debtor

                                     UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                         CASE NO.: 2:22-bk-14858-VZ
                                                                CHAPTER: 11
 MYLIFE.COM, INC.
                                                                     DISCLOSURE STATEMENT AND PLAN
                                                                           OF REORGANIZATION
                                                                               [11 U.S.C. §§ 1123, 1125]

                                                                   Initial Disclosure Statement and Plan
                                                                   1st Amended Disclosure Statement and Plan


                                                                             For information on court hearings,
                                                  Debtor(s).            see the separately filed notice(s) of hearing.

On (specify the “petition date”) September 2, 2022, the Debtor filed a voluntary bankruptcy petition under Chapter 11 of
the Bankruptcy Code (“Code"). This form Disclosure Statement and Plan of Reorganization (“DS and Plan”) is both the
Disclosure Statement (“DS”) and the Plan of Reorganization (“Plan”).

PROPONENT: The party who filed the DS and Plan (“Proponent”) is:             Debtor, or           .

PLAN: The terms of the Plan, located at Sections VIII – X, comply with the requirements of 11 U.S.C. § 1123, including
the proposed treatment of claims of the Debtor’s creditors and, if applicable, the interests of shareholders or partners.
The Court has not yet confirmed the Plan, which means the terms of the Plan are not now binding on anyone;
however, if the Plan is confirmed, the terms will bind the Debtor and any holders of claims or interests treated by the plan.

DISCLOSURE STATEMENT: Sections I – VII and XI constitute the DS and describe the assumptions that underlie the
Plan and how the Plan will be executed. The Proponent believes the DS meets the standard for adequate information set
forth in 11 U.S.C. § 1125(a). The information disclosed is for explanatory purposes only and is as accurate as
possible.

Any interested party desiring further information should contact the attorney for Proponent identified above in the box at
top left of this page, using the contact information provided.



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                                               NOTE ABOUT CITATIONS

                “Chapter, section and §” references are to 11 U.S.C. §§ 101-1532 of the Bankruptcy Code.
                “FRBP” references are to the Federal Rules of Bankruptcy Procedure.
                “LBR” references are to the Local Bankruptcy Rules for the Central District of California.




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    I. GENERAL DISCLAIMER
    PLEASE READ THIS DOCUMENT CAREFUULY, INCLUDING THE ATTACHED EXHIBITS. IT EXPLAINS WHO IS
    ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN, AND WHO IS ENTITLED TO FILE AN OBJECTION TO
    CONFIRMATION OF THE PLAN. IT ALSO IDENTIFIES THE TREATMENT THAT CLAIMANTS (CREDITORS) AND
    ANY INTEREST HOLDERS (SHAREHOLDERS OR PARTNERS) CAN EXPECT TO RECEIVE UNDER THE PLAN,
    IF THE PLAN IS CONFIRMED BY THE COURT.

    THE SOURCES OF FINANCIAL DATA RELIED ON TO FORMULATE THIS DOCUMENT ARE IN EXHIBIT A,
    A DECLARATION. ALL REPRESENTATIONS ARE TRUE TO THE PROPONENT’S BEST KNOWLEDGE.

    NO REPRESENTATIONS CONCERNING THE DEBTOR THAT ARE INCONSISTENT WITH INFORMATION
    CONTAINED IN THIS DS AND PLAN ARE AUTHORIZED EXCEPT TO THE EXTENT, IF AT ALL, THAT THE
    COURT ORDERS OTHERWISE.

    AFTER CAREFULLY REVIEWING THIS DOCUMENT AND THE ATTACHED DECLARATIONS AND EXHIBITS,
    PLEASE REFER TO THE SEPARATELY FILED NOTICE OF DATES RELATED TO A HEARING ON MOTION TO
    APPROVE ADEQUACY OF THE DISCLOSURE STATEMENT, OR HEARING ON MOTION TO CONFIRM THE
    PLAN. EACH NOTICE WILL IDENTIFY DATES AND DEADLINES TO FILE A RESPONSE OR OTHER
    OBJECTION, OR TO SUBMIT A BALLOT IF YOU ARE ENTITLED TO VOTE ON THE PLAN.


    II. TYPE OF PLAN OF REORGANIZATION; IMPORTANT DATES
    Payments and treatments under the Plan have a starting date (“Effective Date”), a period of time after the Effective
    Date to continue payments (“Plan Term”), and a final payment date (“Final Payment”).

                Plan Type                            Effective Date                        Plan Term           Final Payment Date

          Liquidating: See                  14 days after order confirming Plan                   years; or        May 1, 2024
     Section V.A.2 below for                                                                                       (estimated)
                                            Other date: May 1, 2024                       1 months
     anticipated sale(s)
          Operating: See Section
     III below


    III. DESCRIPTION OF DEBTOR’S PAST AND FUTURE BUSINESS AND EVENTS
           PRECIPITATING BANKRUPTCY FILING
    A. PAST AND FUTURE BUSINESS OPERATIONS: The Debtor is organized as a Delaware C corp. The Debtor
       operated 100% percent of its business activity out of its headquarters in Los Angeles, CA since 2001 (other than
       remote workers), providing services to customers nationwide. Before this case was commenced on (specify the
       “petition date”) September 2, 2022, the Debtor,

                 provided the following services for pay: background checking service allowing people to check public
         records for others they would like to know more about and manage how they look to others

                  manufactured or sold the following products:

                  was in the business of renting real estate. (See Exhibit    for a detailed description of Debtor’s property
                  or properties including locations, square footage, occupancy rates, etc.)

                  was in the business of developing real estate. (See Exhibit          for a detailed description of Debtor’s
                  property or properties including locations, size of lot(s), stage of development, etc.)

                  other:

         The Debtor     will       will not continue this course of conduct, as the Debtor will be selling the business in order to
         fund the Plan.

         The Debtor:           is not a small business debtor within the meaning of 11 U.S.C.§101(51(d).
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                              is a small business debtor within the meaning of 11 U.S.C.§101(51(d), please see Exhibit
                              for information pertaining to 11 U.S.C. §1116 compliance.

         B. FACTORS THAT LED TO FILING THIS BANKRUPTCY CASE (Describe briefly):

         Pre-petition, the Debtor was pressured into settling litigation with the FTC that required significant payments. The
         Debtor believed it could make those payments based on forecasts provided to the FTC that included recurring
         revenue. Many months after settlement, the FTC surprised the Debtor that it was required to eliminate
         all recurring revenue, which not agreed to or understood by the Debtor, making the original deal both impossible
         and unconscionable, and forcing the Debtor into bankruptcy.

         C. FUTURE FINANCIAL OUTLOOK: Proponent believes that the Debtor’s economic health has, or will, improve
            from its prebankruptcy state for the following reasons. (Describe briefly)
         The Debtor has continued to operate and provide services post-petition, with recently increasing users and
         adoption. The Debtor will sell its business, and use the proceeds to pay creditors under this Plan.

         D. PROPOSED MANAGEMENT OF THE DEBTOR:
                1. Names of persons who will manage the Debtor’s business affairs:
                    Jeff Tinsley, owner and CEO
                2. Proposed compensation to persons listed above: Will be paid in the ordinary course until the transfer of
                   Debtor’s assets is complete.

                3. Qualifications of persons listed above:
                    Mr. Tinsley has served as CEO since the Debtor’s inception in 2001.

                4. Affiliation of persons listed above to Debtor: CEO/owner


                5. Job description: Mr. Tinsley and will oversee the liquidation of the Debtor’s business and
                   winddown/transfer of operations to buyer.


         E. PROPOSED         DISBURSING AGENT              MULTI-PURPOSE POST-CONFIRMATION AGENT
            will pay all amounts due under the Plan from a fund hereby authorized to be opened. This fund shall be
            maintained in a segregated, interest-bearing account in a depository approved by the United States trustee
            for the Central District of California for deposits of funds by trustees.
                1. Name of person responsible for collecting money intended for distribution to claimants and transmitting it
                   to claimants: Anthony Mazzarella, CFO
                2. Disbursing agent’s address: 5161 Lankershim Blvd., Ste. 250, North Hollywood, CA 91601.
                3. Disbursing agent’s phone number: 310-571-3144
                4. Proposed compensation for person listed above: Mr. Mazzarella is expected to remain an employee after
                   sale and transfer of assets, and will continue to be paid in the ordinary course.
                5. Qualifications of person listed above: Mr. Mazzarella has served as CFO since 2018
                6. Affiliation of person listed above, to Debtor: CFO
                7. Job description: Mr. Mazzarella will oversee the collection of sale proceeds and distribution to creditors
                   pursuant to this Plan.

    IV. DEFINITIONS AND PRELIMINARY INFORMATION

        A. CLAIMS AND INTERESTS

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        A claim refers to all obligations of the Debtor or against property of the Debtor. Claims treated under the Plan are
        included whether the claim arose before or after the bankruptcy case was filed, and whether or not an obligation
        involves a cash payment. A claimant refers to holder of a claim treated under the Plan, even if the party did not
        file a proof of claim. An interest represents an ownership stake in the Debtor. An interest holder refers to holder
        of an interest treated under the Plan, even if the party did not file a proof of interest.

        A claim or interest is allowed if it is (a) timely and properly scheduled or filed, and not objected to; (b) objected to,
        and was resolved by settlement of the parties or a court order, or (c) deemed allowed. A claim is deemed allowed
        if the claim is listed on the Debtor’s schedules and is not scheduled as disputed, contingent, or unliquidated. An
        interest is deemed allowed if it is included on the list of equity security holders filed by the Debtor with the court
        and is not scheduled as disputed. Allowed claims and interests are provided for in the Plan in the relevant
        category or class.

        A claim or interest is disallowed if it was timely objected to by a party in interest and the court ordered that the
        claim or interest be disallowed in part or entirely. Disallowed claims and interests are not treated under the
        Plan.

        A claim or interest is disputed if a ruling on allowance has not been made, and (a) a proof of claim or interest has
        been filed or deemed filed and a party in interest has filed an objection; or (b) a proof of claim or interest has not
        been filed and the Debtor scheduled such claim or interest as disputed, contingent, unliquidated or unknown.

        In this case, the deadline by which to file a proof of claim or interest was October 6, 2023 and the deadline by
        which to have an objection to claim or interest heard is: n/a. The status of the claims and interest objection
        process is that     all objections to have been resolved, and no other objections are anticipated; or         the
        objection process is pending, or will shortly begin, for the claims or interests identified in Exhibit B as having an
        objection pending and Proponent has filed the Motion for Order Approving Disclosure Statement with objections
        still pending because: the Debtor is still analyzing what, if any, claim objections will be filed.

        If the holder of a claim or interest wants to vote, but holds a claim or interest that has either (a) been objected to,
        or (b) has been scheduled by the Debtor as contingent, disputed, unliquidated, or unknown, and the holder has
        not filed a proof of claim or interest, the holder must file a motion to have its claim or interest allowed for voting
        purposes in time for that motion to be heard before the hearing on confirmation of the Plan.

        No distribution will be made on the disputed portion of a claim or interest unless allowed by a final non-appealable
        order. FRBP 9019 authorizes the Debtor to settle disputed claims with court approval; but, court approval is not
        required if a proposed settlement does not exceed $10,000. The Debtor is required to reserve funds to pay the
        amount claimants would receive if the claim is allowed in full (unless the court approves a different amount). To
        the extent a disputed claim is disallowed, (a) the funds that had been reserved for such claims will be distributed
        as provided in the Plan to other creditors of the same class (or as ordered by the court); or (b) if this box is
        checked       then such funds will be distributed to the Debtor.

      B. POTENTIAL § 1111(b) ELECTIONS. § 1111(b) allows a partially secured claim to be treated as fully secured
         under certain conditions, notwithstanding § 506(a). Claimants should consult their attorney to evaluate if a
         § 1111(b) election is available and is in their best interest, and to identify the deadline for making an election.

      C. VOTING AND OBJECTIONS TO CONFIRMATION OF PLAN.

           “Voting” to accept or reject the Plan is different from “objecting” to confirmation of the Plan. Voting by ballot
           means a claimant entitled to vote completes the ballot enclosed with this DS and Plan and returns it to
           Proponent. Objecting to confirmation means a party in interest files and serves either a Preliminary Objection to
           Confirmation of Plan, or an Opposition to Motion to Confirm Plan.

         1. Who may object to confirmation of the Plan. Any party in interest may object to confirmation of the Plan;
            but, as explained below, not all claimants and interest holders are entitled to vote to accept or reject the Plan.

         2. Who may vote (§ 1124). It requires both an allowed and impaired claim, or allowed and impaired interest in
            order to vote either to accept or reject the Plan.



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          Impaired claimants include those whose legal, equitable, and contractual rights are altered by the Plan even if
          the alteration is beneficial to the claimant. Impaired interest-holders include those whose legal, equitable, and
          contractual rights are altered by the Plan, even if the alteration is beneficial to the interest holder.

          Claims and interests are placed into classes consistent with § 1122. Members of unimpaired classes do not
          vote, though they may file an objection to confirmation of the plan.

          Many claimants are treated by the Bankruptcy Code as having accepted or rejected the Plan without a vote.
          Some types of claims are required to be treated a certain way by the Bankruptcy Code and for that reason they
          are considered unimpaired. Holders of such claims cannot vote. In addition, the Bankruptcy Code treats some
          claimants as having rejected the Plan without a vote if (a) the claimant is to receive no distribution under the
          Plan; (b) an objection has been filed to that claimants’ claim and the objection has not been resolved prior to
          filing the Plan; or (c) Debtor scheduled a claim as contingent, disputed, unliquidated or unknown and the creditor
          has not filed a proof of claim.

                       Classes Entitled to Vote Because                            Classes Not Entitled to Vote Because
                            the Class is Impaired:                                       the Class is Unimpaired:

            2b, 2c                                                       Tax claims, 1a, 3a, 3b



          A party that disputes the Proponent’s characterization of its claim or interest as unimpaired and wants to vote,
          may request a finding of impairment from the Court in order to obtain the right to vote.

    3.     Votes necessary to confirm the Plan. The court may confirm the Plan if at least one non-insider impaired
         class of claims has accepted and certain statutory requirements are met as to both nonconsenting members
         within a consenting class and as to dissenting classes. A class of claim has accepted the Plan when more than
         one half in number and at least two-thirds in amount of the allowed claims actually voting, vote in favor of the
         Plan. A class of interest has accepted when more than one half in number and at least two-thirds in amount of
         the allowed interests of such class actually voting have accepted it. It is important to remember that even if the
         requisite number of votes to confirm the Plan are obtained, the Plan will not bind the parties unless and until the
         Court makes an independent determination that confirmation is appropriate. That is the subject of any upcoming
         confirmation hearing.

      (A) How to vote. The Debtor will file and serve 2 notices: (1) Notice of Hearing on Adequacy of Disclosure
          Statement (“Notice of DS Hearing”); and Notice of Dates Related to Confirmation of Plan and Deadlines to:
          Submit Ballot; (B) File Preliminary Objection to Confirmation of Plan; and (C) File Response to Motion to
          Confirm Plan (“Notice of Deadlines Related to Confirmation”).

          A ballot will accompany the Notice of Deadlines Related to Confirmation. A voting claimant must follow the
          instructions set forth in the Notice of Deadlines Related to Confirmation. A claimant whose claim is allowed as
          partly secured and partly unsecured is entitled to vote in each capacity by delivering one ballot for the secured
          part of the claim and another ballot for the unsecured portion of the claim.

V. SOURCE OF MONEY TO SATISFY CLAIMS AND INTERESTS
    The Plan cannot be confirmed unless the Court finds that it is "feasible," which means that the Proponent has timely
    submitted evidence establishing that the Debtor will have sufficient funds available to satisfy all expenses, including
    the scheduled payments to claimants discussed in sections VIII below.

    A. NON-INCOME SOURCES TO FUND PLAN. See Exhibit(s) D and                      for income and other contributions that
       will fund the Plan. If additional funding sources (non-income) are needed, see below:

                1. Loan or Line of Credit:     None         Loans or Lines of Credit are as follows:

           NAME OF LENDER                                  CONTRIBUTION TYPE               TERM         INT RATE      PROCEEDS


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           (a)                                                Loan       Credit Line                          %        $

           (b)                                                Loan       Credit Line                          %        $


                2. Sales of Property:

                      None

                     All or substantially all of Debtor’s assets will be sold. The terms of the proposed sale and evidence of
                     the financial solvency of the proposed buyer will be supplied in connection with the forthcoming sale
                   motion.

                      The specified property of Debtor is planned to be sold as follows:

                                                                                PROPOSED           PROPOSED            PROCEEDS
                                                                                  SALE               SALE               TO FUND
           PROPERTY DESCRIPTION:
                                                                                  DATE               PRICE             THE PLAN
           (a)         Property in CLASS #3, #4 or #5: Check only ONE:
                         3a         3b      3c        3d       3e                               $                  $
                         4a         4b      4c        4d       4e
                         5a         5b      5c        5d       5e

           (b)         Property in CLASS #3 or #4: Check only ONE:
                         3a         3b      3c        3d       3e                               $                  $
                         4a         4b      4c        4d       4e
                         5a         5b      5c        5d       5e


                      See Exhibit         for additional anticipated sales of specific property.


                3. Adversary Proceedings:         None         Adversary proceedings are as follows:

           ADVERSARY PROCEEDING DESCRIPTION: FRBP                         DATE FILED OR            ADV. PROC.       ANTICIPATED
           7001 and LBR 7004-1 require a summons/complaint.                TO BE FILED              NUMBER           RECOVERY
           (a)     Mylife.com, Inc. v. United States of America          08/22/23              2:23-ap-01386-      $1,166,666.66
                                                                                               VZ
           (b)                                                                                                     $


    B. PAYMENTS ON THE EFFECTIVE DATE. This section demonstrates the Plan is feasible on the Effective Date.


     (1) CLAIMS AND EXPENSES TO BE PAID ON THE EFFECTIVE DATE                                                      AMOUNT
         Cure Payments: Executory Contracts, Unexpired Leases: Section VIII.B.2.                          $8,352.56
       De Lage Landen Financial Services, Inc.                                                          1,193.63
       Dell Financial Services LLC                                                                      7,158.93
         Administrative claims + Statutory Costs/Charges: Section VIII.C.1. +court costs                  $3,653,492.56
     Tax Claims                                                                                           $3,357.80

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     Class 1a Priority Claims                                                                          $ 44,656.51
         Nominal Unsecured Claims: Section VIII.E.1.                                                   $
         First and Final Payments: General Unsecured Claims: Section VIII.E.2.                         $1,146,666.06-
                                                                                                       $1,846,666.06
         Arrearages + First Payments: Secured Claims: Sections VIII.F. – VIII.G.                       $0
                                                  TOTAL TO BE PAID ON THE EFFECTIVE DATE:              $4,856,525.49-
                                                                                                       $5,556,525.49
     (2) SOURCE OF FUNDS ON THE EFFECTIVE DATE
         Cash on Hand: (including pending tax refund and employee retention credit)                    $689,858.83
         New Value:       Contributor Name (identify): Jeffrey Tinsley                                 <$205,625 reduction in
                                                                                                       administrative claim>
         Loan or Line of Credit: Described above in:         V.A.(1a)      V.A.(1b)                    $
         Sale of Property: Described above in:         V.A.(2)    V.A.(2b)                             $3,000,000-3,700,000
         Adversary Proceeding Recovery: Described above in:             V.A.(3a)      V.A.(3b)         $1,166,666.66
         Other Sources:      (identify):                                                               $

                TOTAL FUNDS AVAILABLE ON THE EFFECTIVE DATE: (exact amount to be                       $4,856,525.49-
                             determined following completion of buyer’s due diligence)                 $5,556,525.49
     (3) CASH AVAILABLE AFTER PAYMENTS MADE ON THE EFFECTIVE DATE:                                     $0.00


    C. PAYMENTS DURING THE PLAN TERM. Please see Exhibit D. for cash flow projections for the duration of the
       Plan, to help determine that the plan is feasible during the plan term. The focus is on projected cash receipts and
       cash disbursements. All non-cash items such as depreciation, amortization, gains and losses are omitted. A
       positive number reflects a source of cash; a (negative number) reflects a use of cash. Exhibit D also contains
       details of the assumptions that underlie the projections.


    D. FINANCIAL RECORDS TO ASSIST IN DETERMINING WHETHER PROPOSED PAYMENT IS FEASIBLE
       Please see Exhibit E for three types of financial documents related to past activities. The two time periods of
       activities are: (1) the most recent twelve-month calendar year; and (2) all months subsequent thereto. The
       financial documents include: balance sheets, cash flow statements and income and expense statements. The
       Debtor has attached these documents, however, these documents are not necessarily indicative of feasibility as
       this is a liquidating plan.


    E. EXPLANATION OF RISK FACTORS AND POTENTIAL FLUCTUATIONS WHEN IMPLEMENTING THE PLAN.


                RISK FACTOR                             EXPLANATION OF RISK AND FLUCTUATIONS

            Business/Economic              Sale not being approved or completed.
            Sale of Property
            Balloon Payment
            Int. Rate Adjustment
            Other


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            Business/Economic            Denial of recovery in the preference action against the USA
            Sale of Property
            Balloon Payment
            Int. Rate Adjustment
            Other

            Business/Economic
            Sale of Property
            Balloon Payment
            Int. Rate Adjustment
            Other

            Business/Economic
            Sale of Property
            Balloon Payment
            Int. Rate Adjustment
            Other


    F. TAX CONSEQUENCES OF THE PLAN.

         1. To the Debtor: Tax consequences to the Debtor are: The amount of tax liabilities, if any, will be affected by
            any deductions the Debtor will be entitled to during the year. Thus, at this time, the Debtor cannot estimate
            the amount of tax liabilities that will be incurred.

         2. To Claimants: Claimants should consult their advisors regarding potential tax effects of the Plan;
            nevertheless:

                   The Debtor believes tax consequences to claimants are:

                   The Debtor is not certain of tax consequences, because:
                The Debtor CANNOT and DOES NOT represent that the tax consequences contained below are the only tax
                consequences of the Plan because the Tax Code embodies many complicated rules which make it difficult to
                state completely and accurately all the tax implications of any action on Debtor’s tax liability. The following are
                the tax consequences which the Plan will have on the Debtor’s tax liability:
                    DUE TO THE UNSETTLED AND COMPLEX NATURE OF SOME OF THE TAX ISSUES, AS WELL AS
                THE POSSIBILITY THAT DEVELOPMENTS SUBSEQUENT TO THE DATE HEREOF COULD AFFECT THE
                TAX CONSEQUENCES OF THE PLAN, THE FOLLOWING DISCUSSION SHOULD NOT BE REGARDED
                AS DEFINITIVE OR AS COVERING ALL POSSIBLE TAX CONSEQUENCES. ADDITIONALLY, THIS
                SUMMARY DOES NOT DISCUSS ALL ASPECTS OF FEDERAL INCOME TAXATION THAT MAY BE
                RELEVANT TO A PARTICULAR CREDITOR OR HOLDER OF AN EQUITY INTEREST IN LIGHT OF ITS
                INDIVIDUAL CIRCUMSTANCES OR TO CERTAIN CREDITORS AND HOLDERS OF EQUITY INTERESTS
                SUBJECT TO SPECIAL TREATMENT UNDER THE FEDERAL INCOME TAX LAWS (FOR EXAMPLE, LIFE
                INSURANCE COMPANIES, TAX-EXEMPT ORGANIZATIONS, FOREIGN CORPORATIONS AND
                INDIVIDUALS WHO ARE NOT CITIZENS OR RESIDENTS OF THE UNITED STATES).
                    THIS SUMMARY DOES NOT DISCUSS ANY ASPECT OF STATE, LOCAL OR FOREIGN TAXATION.
                HOLDERS OF CLAIMS ARE STRONGLY URGED TO CONSULT WITH THEIR OWN TAX ADVISORS AS
                TO THE SPECIFIC TAX CONSEQUENCES (FEDERAL, STATE, LOCAL, AND FOREIGN) TO THEM OF
                THE PLAN.



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                     This summary is based upon the laws, regulations, rulings, and decisions in effect on the date hereof and
                upon certain proposed and temporary regulations, all of which are subject to change (possibly with retroactive
                effect) by legislation, administrative action or judicial decision.
                Moreover, due to a lack of definitive judicial or administrative authority and interpretation, substantial
                uncertainties exist with respect to various tax consequences of the Plan as discussed herein. No rulings have
                been or are expected to be requested from the IRS or any state tax agency concerning any of the tax matters
                described herein. There can be no assurance that the IRS or any state tax agency will not challenge the
                positions taken by the Debtor with respect to any of the issues addressed herein or that a court of competent
                jurisdiction would not sustain such a challenge.


VI.        ASSETS AND LIABILITIES OF THE ESTATE
       A. ASSETS The identity and fair market value of the estate’s assets are listed in Exhibit C so that the reader can
          assess what assets are at least theoretically available to satisfy claims and to evaluate the overall worth of the
          bankruptcy estate. Any proposed sale of these assets is discussed in Section V.A.2 above.

       B. LIABILITIES Exhibit B shows the allowed claims against the estate, claims whose treatment is explained in
          detail in Sections VIII below.

       C. SUMMARY The fair market value of all assets equals $1,337,354.68 (not including sales proceeds and
          preferential transfer recovery). Total liabilities equal $34,378,276.86.


VII.       TREATMENT OF NONCONSENTING MEMBERS OF CONSENTING CLASS
           The Plan must provide that a nonconsenting impaired claimant or interest holder of a consenting class receive at
           least as much as would be available had the Debtor filed a Chapter 7 petition instead. In a Chapter 7 case the
           general rule is that the Debtor's assets are sold by a trustee. Unsecured claims generally share in the proceeds
           of sale only after secured creditors and administrative claimants are paid. Certain unsecured claims get paid
           before other unsecured claims do. Unsecured claims with the same priority share in proportion to the amount of
           their allowed claim in relationship to the total amount of allowed claims.

           A claimant would recover from the assets of the bankruptcy estate less under chapter 7 than under chapter 11 for
           a number of reasons including: (1) for the reasons detailed in Exhibit C, the liquidation value of Debtor’s assets is
           less than its fair market value; (2) in a chapter 7 case a trustee is appointed and is entitled to compensation from
           the bankruptcy estate as reflected in the chart below; and (3) an individual debtor is permitted to exempt a certain
           amount of the sales proceeds before unsecured claims are paid anything.

 CALCULATION OF ESTIMATED PERCENT RECOVERY                                                     CHAPTER 7           CHAPTER 11

                                                                                              $2,472,817.70        $4,856,525.49-
                                                                                               (assets per          5,556,525.49
 (a)      Total value of the Debtor’s assets:                                                  schedules +
          See Exhibit C for a list of all property of the bankruptcy estate,                     potential
          valuations, and valuation methods.                                                    preference
                                                                                                 recovery)
                                                                                                                  <$3,653,492.56
                                                                                                                    (allowed and
                                                                                                                   includes 10%
                                                                                                                     reduction in
 (b)      Administrative Expense Claims:                                                    <$4,420,947.64>
                                                                                                                   claims of Jeff
                                                                                                                    Tinsley, and
                                                                                                                       Debtor’s
                                                                                                                     attorneys)>

 (c)      Tax Claims:                                                                          <$418,393>           <$3,357.80>

 (d)      Other Unsecured Claims to be Paid Before General Unsecured Claims:                 <$215,237.48>         <$44,656.51>

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                                                                                            (per schedules)

 (e)      Trustee’s Fees: Assuming the chapter 7 trustee disburses the net
          liquidation value of assets to claimants, § 326 indicates the chapter 7
          trustee is entitled to fees of:

        * 25% on the first $5,000 of all moneys disbursed = $1,250,
        * 10% on any amount over $5,000 but less than $50,000 = $4,500,
        * 5% on any amount over $50,000 but not in excess of $1 million = $47,500,
        * 3% on all amounts over $1 million) = $44,184,53,

                                        TOTAL TRUSTEE’S FEES = 97,434.53
 1,339,187.22                                                                                     <$0>                  N/A
                                                                                                                     $205,625
 (f)      New Value
                                                                                                                 reduction in Jeff
                                                                                                                     Tinsley’s
                                                                                                  N/A
                                                                                                                  administrative
                                                                                                                  claim (see part
                                                                                                                        (b)

 (g)      Dollar Amount Available for General Unsecured Claims: (a) plus (f) minus                                $1,146,666.06-
          (b), (c), (d) and (e) =                                                                  $0             $1,846,666.06

 (h)      Dollar Amount of General Unsecured Claims: =                                     $39,784,365.20
                                                                                                (includes
                                                                                           disputed claims;
                                                                                           objections by the     $30,668,417.43
                                                                                             trustee would           (estimated
                                                                                            increase admin        allowed claims
                                                                                               claims and        after objections;
                                                                                           reduce funds for       see Exhibit B)
                                                                                                 general
                                                                                               unsecured
                                                                                                creditors)

 (i)      % recovery on general unsecured claims: [(g) divided by (h)] x 100% =                    0%                  4-6%



VIII. PLAN PROVISIONS: TREATMENT OF CLAIMS
       Below is a summary of who gets paid what and when and from what source. The Proponent is usually not required by
       law to pay the holder of an unsecured claim or interest everything it would otherwise be entitled to, had a bankruptcy
       case not commenced.

       A. ASSUMPTION AND REJECTION OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES. [§ 365]

           1.      There are no executory contracts or unexpired leases.

           2.      Assumption. The post-confirmation debtor will perform all related obligations whether arising before or
                   after confirmation of the Plan. Any arrearages arising before confirmation of the Plan will be paid by the
                   first day of the month following the Effective Date unless the parties agree otherwise or the court finds
                   that a longer payment schedule still provides the creditor with timely cure and adequate assurance of
                   future performance. Obligations that arise after confirmation of the Plan will be paid as they come due.

                      Previously Assumed:


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                                                                                                DATE OF           CURE AMOUNT:
                                DESCRIPTION OF EXECUTORY CONTRACT
                                                                                               ORDER TO            Must be paid on
                                        OR UNEXPIRED LEASE
                                                                                                ASSUME              Effective Date
                        (a)                                                                                       $
                        (b)                                                                                       $

                         To be Assumed on the Effective Date.

                                                                                                                  CURE AMOUNT:
                              DESCRIPTION OF EXECUTORY CONTRACT OR UNEXPIRED LEASE
                                                                                                                   Must be paid on
                                                                                                                    Effective Date
                        (a)                                                                                       $
                        (b)                                                                                       $


         3.           Rejection. Claims arising from the rejection of an executory contract or unexpired lease are treated as
                      general unsecured claims in CLASS #2, except to the extent the court orders otherwise. A claim arising
                      from the rejection must be filed no later than 30 days after the date of the order confirming the Plan.

              DESCRIPTION OF EXECUTORY CONTRACT OR UNEXPIRED LEASE
              (a)                                                            Rejected:      Order Entered on:
                                                                                            Deemed Rejected on:
                                                                             To be Rejected on the Effective Date

              (b)                                                            Rejected:      Order Entered on:
                                                                                            Deemed Rejected on:
                                                                             To be Rejected on the Effective Date


                See Exhibit F for executory contracts and unexpired leases to be assumed or rejected.

  B. UNSECURED CLAIMS THAT MUST BE TREATED AS REQUIRED BY § 1129(a)(9)(A) and § 1129(a)(9)(C),
     UNLESS A CLAIMANT CONSENTS TO A DIFFERENT TREATMENT. §§ 1129(a)(9)(A) and (C) require that
     certain claims be treated one at a time, rather than as a class. Even if another claimant votes to accept a lesser
     treatment, the claims listed below are not altered. The debtor must prove to the court that claims are either being
     treated as 1129(a)(9) requires, or that the claimant agreed to some other treatment.

      1. Administrative Expense Claims - § 507(a)(2) and § 1129(a)(9)(A). These include: (1) court-approved
         claims of attorneys and other professionals; and (2) United States trustee fees under 28 U.S.C. chapter 123.

                    The deadline to file administrative expensive claims is (date)                    .
                    There are no administrative expense claims.
                    All administrative expense claims  have been filed and/or   are anticipated to be filed, and the
                    claims and amounts indicated below are the amounts requested or anticipated to be requested: See
                    Exhibit G.

 Claimant:
      Claim Amount                                       Amount                       Amount Paid After Effective Date
    (less paid to date)                 Interest
                                                         Paid on
                                           Rate                                             Each            Balloon          Term of
     Actual                                              Effective       Frequency
                                         (if any)                                          Payment          Pymts           Payments
     Estimated                                             Date

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     $                                    %          $                 Monthly          $               $
                                                                       Quarterly                                         months


 Claimant:
      Claim Amount                                   Amount                        Amount Paid After Effective Date
    (less paid to date)             Interest
                                                     Paid on
                                       Rate                                             Each            Balloon          Term of
     Actual                                          Effective       Frequency
                                     (if any)                                          Payment          Pymts           Payments
     Estimated                                         Date

     $                                    %          $                 Monthly          $               $
                                                                       Quarterly                                         months


     2. Tax Claims - § 507(a)(8) and § 1129(a)(9)(C). Must be paid in full within 5 years after the Petition Date.

                There are no tax claims            All tax claims have been filed or scheduled, and are indicated below:

 Claimant: Los Angeles County Tax Collector
      Claim Amount                                   Amount                        Amount Paid After Effective Date
                                    Interest
    (less paid to date)                              Paid on
                                      Rate                                              Each            Balloon          Term of
     Actual                                          Effective       Frequency
                                     (§511)                                            Payment          Pymts           Payments
     Estimated                                         Date

         $ 3,357.80                       %         $3,357.80          Monthly          $               $
                                                                       Quarterly                                         months


 Claimant: Internal Revenue Service
      Claim Amount                                   Amount                        Amount Paid After Effective Date
                                    Interest
    (less paid to date)                              Paid on
                                      Rate                                              Each            Balloon          Term of
     Actual                                          Effective       Frequency
                                     (§511)                                            Payment          Pymts           Payments
     Estimated                                         Date

   $ 0.00 (paid current)                  %           $0.00            Monthly          $               $
                                                                       Quarterly                                         months

                See Exhibit        for additional unsecured claims (not listed in VII.C) on which voting is not allowed.
                   § 507(a)(2) – Administrative Expense Claims
                   § 507(a)(8) – Tax Claims
                   § 507(a)(3) – Involuntary Gap Claims Allowed Under § 502(f)

  C. UNSECURED CLAIMS THAT MUST BE TREATED AS REQUIRED BY § 1129(a)(9)(B) – CLASS #1.
     § 1129(a)(9)(B) requires certain unsecured claims to be treated with priority over general unsecured claims, and
     pay them in full on the Effective Date or as soon as practicable after unless claimants vote as a class to accept
     deferred payments. If so, claims are impaired and claimants are entitled to vote to accept or reject the Plan.

                There are no claims in CLASS #1.

                CLASS #1a: § 507(a)(1) - Wage and Commission Claims

 Claimant:
      Claim Amount                                  Amount                         Amount Paid After Effective Date
    (less paid to date)            Interest
                                                    Paid on
                                      Rate                                              Each            Balloon          Term of
     Actual                                         Effective        Frequency
                                    (if any)                                           Payment          Pymts           Payments
     Estimated                                        Date

         $ 56,964.82                      %        $56,964.82          Monthly          $               $
                                                                       Quarterly                                         months

                See Exhibit       for additional unsecured claims (not listed above) in Class #1:
                   CLASS #1(a): § 507(a)(4) - Wage and Commission Claims
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                 CLASS #1(b): § 507(a)(5) – Employee Benefit Plan Contribution Claims
                 CLASS #1(c): § 507(a)(6) – Grain Producer and Fisherman Claims
                 CLASS #1(d): § 507(a)(7) – Consumer Deposit Claims

  D. OTHER UNSECURED CLAIMS – CLASS #2.

           There are no claims in CLASS #2.

           See Exhibit B for a list of all CLASS #2 claimants and amount owed to each.

           1.      CLASS #2a: Nominal Unsecured Claims. These include “nominal” claims of $               or less, and
                   any larger unsecured claims whose claimant agreed to reduce its claim to this amount. Claimants are
                   not entitled to vote to accept or reject the Plan.

                   Claimants will be paid the nominal amount on the Effective Date, or as soon as practicable thereafter.
                   Estimated total payments are $         .

            2.     CLASS #2b: General unsecured claims. These are unsecured claims not included in CLASS #2a, and
                   will be paid as follows. Claimants are entitled to vote to reject or accept the Plan.

                       Percent Plan. Each claimant in CLASS #2b will be paid                  % of its claim beginning the first
                       relevant date after the Effective Date:

                       a. Over       years in equal           monthly      quarterly installments, due on the first day of each
                          calendar month/quarter;

                       b.      with interest at the rate of             % per annum, or     without interest; and.

                       c.   The amount each claimant receives depends on the total amount of allowed claims in this class.

                       Pot Plan. Each member of CLASS #2b will be paid a pro rata share of a fund estimated between 4-
                       6% of allowed claim or $ 182,799.89- 294,392.91, created by the Debtor’s payment:

                       a. Pro rata means the entire fund amount divided by the total of all allowed claims in this class.

                       b. Payment amount is $ 182,799.89- 294,392.91 on the Effective Date (exact amount to be
                    determined after completion of buyer’s due diligence).,

                       b. Payments will begin on (date): Effective Date.

                             Other: See Exhibit

            3.     CLASS #2c: Unsecured Stipulated Order Claim. These are unsecured claims not included in CLASS
                   #2b because this debt is not similarly situated to the vendor creditors in Class #2b and will be paid as
                   follows. Claimants are entitled to vote to reject or accept the Plan.

                   Pot Plan. Each member of CLASS #2c will be paid a pro rata share of a fund, estimated between 4-6%
                       of allowed claim or$ 963,866.17- 1,552,273.15, created by the Debtor’s payment:

                       a. Pro rata means the entire fund amount divided by the total of all allowed claims in this class.

                      b. Payment amount is estimated $ 963,866.17- 1,552,273.15 on the Effective Date., (exact
                    amount to be determined after completion of buyer’s due diligence).

                       c.   Payments will begin on (date): Effective Date.

  E. SECURED CLAIMS – CLASS #3, CLASS #4 and Class #5.

      CLASS #3 - Unimpaired Non-Insider Claims. Claimants are not entitled to vote to accept or reject the Plan. Until
      claims are fully paid, claimants retain their interest in the property securing the claim. Treatment is:

           There are no claims in CLASS #3.
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                 CLASS #3a       Claimant: De Lage Landen Financial Services, Inc.
                                 Basis for secured status: Copier lease agreement
                                 Priority of lien: 1st


             Total          Total Amount of                                                 Frequency         Total
                                                                 First       Amount of                                     Final
           Amount of        Payments Over          Interest                                     of           Yearly
                                                               Payment         Each                                       Payment
            Allowed         Time to Satisfy          Rate                                   Payments        payments
                                                                 Date       Installment                                     date
             Claim           Secured Claim
                            Arrearage being              %    Effective     $                              $
                            paid on Effective                 Date
                            Date and lease
                            being assigned to
                            buyer



           Address or Other Description of Collateral Securing Claim 3a: Copier

           Value:            Valuation          Order on motion or stipulation       Declaration: Certified appraiser
           $                 Method             Other: Estimated

                Additional Comments relating to Class #3a:



                 CLASS #3b       Claimant: Dell Financial Services LLC
                                 Basis for secured status: Lease to own server agreement
                                 Priority of lien: 1st


             Total          Total Amount of                                                 Frequency         Total
                                                                 First       Amount of                                     Final
           Amount of        Payments Over          Interest                                     of           Yearly
                                                               Payment         Each                                       Payment
            Allowed         Time to Satisfy          Rate                                   Payments        payments
                                                                 Date       Installment                                     date
             Claim           Secured Claim
                            Arrearage being              %                  $                              $
                            paid on Effective
                            Date and lease
                            being assigned to
                            buyer



           Address or Other Description of Collateral Securing Claim 3b:

           Value:            Valuation          Order on motion or stipulation       Declaration: Certified appraiser
           $                 Method             Other:


                Additional Comments relating to Class #3b:



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                  CLASS #3c         Claimant:
                                    Basis for secured status:
                                    Priority of lien:


             Total            Total Amount of                                               Frequency         Total
                                                                     First    Amount of                                    Final
           Amount of          Payments Over             Interest                                of           Yearly
                                                                   Payment      Each                                      Payment
            Allowed           Time to Satisfy             Rate                              Payments        payments
                                                                     Date    Installment                                    date
             Claim             Secured Claim
           $                  $                             %                $                             $



           Address or Other Description of Collateral Securing Claim 3c:

           Value:                 Valuation        Order on motion or stipulation    Declaration: Certified appraiser
           $                      Method           Other:

                Additional Comments relating to Class #3c:

                See Exhibit          for more unimpaired secured claims. Label as Class #3d, #3e, etc.



         CLASS #4 - Impaired Non-Insider Claims. Claimants are entitled to vote to accept or reject the Plan. Until
         claims are fully paid, claimants retain their interest in the property securing the claim. Treatment is:

                There are no claims in CLASS #4.


                  CLASS #4a         Claimant:
                                    Basis for secured status:
                                    Priority of lien:
                                       Lien is not modified in any way.
                                       Lien is modified as follows:


             Total            Total Amount of                                               Frequency         Total
                                                                     First    Amount of                                    Final
           Amount of          Payments Over             Interest                                of           Yearly
                                                                   Payment      Each                                      Payment
            Allowed           Time to Satisfy             Rate                              Payments        payments
                                                                     Date    Installment                                    date
             Claim             Secured Claim
           $                  $                             %                $                             $



           Address or Other Description of Collateral Securing Claim 4a:

           Value:                 Valuation        Order on motion or stipulation    Declaration: Certified appraiser
           $                      Method           Other:


                Additional Comments relating to Class #4a:
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                 CLASS #4b        Claimant:
                                  Basis for secured status:
                                  Priority of lien:
                                     Lien is not modified in any way.
                                     Lien is modified as follows:


             Total          Total Amount of                                                 Frequency         Total
                                                                   First     Amount of                                     Final
           Amount of        Payments Over             Interest                                  of           Yearly
                                                                 Payment       Each                                       Payment
            Allowed         Time to Satisfy             Rate                                Payments        payments
                                                                   Date     Installment                                     date
             Claim           Secured Claim
           $                $                             %                 $                              $



           Address or Other Description of Collateral Securing Claim 4b:

           Value:               Valuation        Order on motion or stipulation      Declaration: Certified appraiser
           $                    Method           Other:


                Additional Comments relating to Class #4b:




                 CLASS #4c        Claimant:
                                  Basis for secured status:
                                  Priority of lien:
                                     Lien is not modified in any way.
                                     Lien is modified as follows:


             Total          Total Amount of                                                 Frequency         Total
                                                                   First     Amount of                                     Final
           Amount of        Payments Over             Interest                                  of           Yearly
                                                                 Payment       Each                                       Payment
            Allowed         Time to Satisfy             Rate                                Payments        payments
                                                                   Date     Installment                                     date
             Claim           Secured Claim
           $                $                             %                 $                              $



           Address or Other Description of Collateral Securing Claim 4c:

           Value:               Valuation        Order on motion or stipulation      Declaration: Certified appraiser
           $                    Method           Other:


                Additional Comments relating to Class #4c:

        See Exhibit          for more impaired secured claims. Label as Class #4d, #4e, etc.

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         CLASS #5 - Insider Claims. These are claims of persons defined in 11 U.S.C. §101(31). Essentially, an insider
         is a person with a close relationship with the Debtor other than a creditor-debtor relationship. Treatment is:

                There are no claims in CLASS #5.


                  CLASS #5a       Claimant:
                                  Basis for secured status:
                                  Priority of lien:
                                     Lien is not modified in any way.
                                     Lien is modified as follows:


             Total          Total Amount of                                                 Frequency         Total
                                                                   First     Amount of                                         Final
           Amount of        Payments Over             Interest                                  of           Yearly
                                                                 Payment       Each                                           Payment
            Allowed         Time to Satisfy             Rate                                Payments        payments
                                                                   Date     Installment                                         date
             Claim           Secured Claim
           $                $                             %                 $                              $



           Address or Other Description of Collateral Securing Claim 5a:

           Value:               Valuation        Order on motion or stipulation      Declaration: Certified appraiser
           $                    Method           Other:


                Additional Comments relating to Class #5a:


        See Exhibit          for more insider secured claims. Label as Class #5b, #5c, etc.



  F. SHAREHOLDER OR PARTNER INTERESTS

      Jeff Tinsley’s interest in the Debtor will be extinguished effective upon transfer of the Debtor’s assets.

          Under the Plan, Shareholders simply retain their shares of stock.

          Shareholders redeem their shares of stock and receive the following consideration:                        .



           Partner’s interest(s) in partnership Debtor:
          1. Each partner’s interest in the debtor shall remain as it is now. The identity of the general partners are:
                             . There     are no limited partners                .
                                         are limited partners and their identities are as follows:            .


          2. The interest of        some or     all of the partners changes under the Plan as follows:                    .




           The     Articles of Incorporation or   Bylaws have been changed to include a provision prohibiting the
      issuance of nonvoting equity securities as required by 11 U.S.C. §1123(a)(6).
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IX.    UNCLAIMED OR UNDELIVERABLE PLAN DISTRIBUTIONS. Payments or other distributions made
       under the Plan that are unclaimed or undeliverable for six (6) months after the attempted distribution will revest in the
       post-confirmation debtor free of restrictions. Any entitlement to distribution will be barred.


X. EFFECT OF CONFIRMATION.
      A. General Comments

         The provisions of a confirmed Plan bind the Debtor, any entity acquiring property under the Plan, and any
         claimant, interest holder, or general partner of the Debtor, even those who do not vote to accept the Plan.

         The confirmation of the Plan vests all property of the estate in the Debtor.

         The automatic stay is lifted upon confirmation as to property of the estate. However, the stay continues to prohibit
         collection or enforcement of pre-petition claims against the Debtor or the Debtor's property until the date the
         Debtor receives a discharge, if any. If the Debtor does not seek a discharge, the discharge is deemed denied and
         the stay as to the Debtor and the Debtor's property terminates on entry of the order confirming the Plan.

      B. Discharge of Liability for Payment of Debts; Termination of Rights and Interests of Equity Security
         Holders and General Partners Provided for by the Plan

            Debtor will seek an order of discharge pursuant to 11 U.S.C. § 1141(d)(5)(C).

            Debtor is not eligible for a discharge pursuant to 11 U.S.C. § 1141(d)(3) because:
                       the Plan provides for the liquidation of all, or substantially all, of the property of the estate.
                       the Debtor will not engage in business after consummation of the Plan.
                       the Debtor would be denied a discharge under 11 U.S.C. § 727(a) if the case were a case under
                       chapter 7.

            Debtor is a corporate debtor thus pursuant to 11 U.S.C. §1141(d)(5)-(6), “[t]he confirmation of the plan does
            not discharge the Debtor from any debt of a kind specified in 11 U.S.C. §523(a)(2)(A)-(B) that is owed to a
            domestic governmental unit, or owed to a person as the result of an action filed under subchapter III of
            Chapter 37 of title 31 or any similar State statute, or for a tax or customs duty with respect to which the debtor
            made a fraudulent tax return or willfully attempted in any manner to evade or to defeat such tax or such
            customs duty.”

      C. Modification of the Plan

         The Proponent may modify the Plan pursuant to 11 U.S.C. § 1127.

      D. Final Decree

         Once the Plan has been consummated, a final decree may be entered upon motion of the Proponent. The effect
         of the final decree is to close the bankruptcy case. After such closure, a party seeking any type of relief relating to
         a Plan provision can seek such relief in a state court of general jurisdiction.


XI. LIST OF EXHIBITS AND DECLARATIONS.
      A. MANDATORY

         Exhibit A:         Declaration of Jeff Tinsley to support all assertions in this Disclosure Statement, and all
         information
                            provided in all other Exhibits.


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         Exhibit B:        List of all claims (next to each claim, indicate whether or not the claim is disputed and scheduled
                           or unscheduled, and include the class number).

         Exhibit C:        List of all property of the estate (including cash on hand) and going concern and liquidation
                           valuations of all listed property as of the date of plan confirmation. Include appendices to
                           describe valuation methods such as order entered determining value, declaration of appraiser
                           with approach used, qualifications as expert, etc. For rental property include average monthly
                           cash flow, deducting for debt service and ordinary, necessary operating expenses for the past
                           three months and the past two years. Estimates of collections and likelihood of collections of
                           accounts receivable and lawsuits should also be provided.

        Exhibit D:         Projected income, expenses, and plan payments prepared on (date)                       , to support
                           that the plan is feasible during the plan term, as referred to in section V.C. Details include
                           proposed plan payments to be made on the Effective Date and for each month and/or quarter of
                           the Plan Term. Sources and uses of funds and any expense fluctuations are explained.

         Exhibit E:        Financial records:

                                    Balance sheets, income and expense statements, cash flow statements for the period
                                    including the most recent twelve-month calendar year and all months subsequent thereto.
                                    Sources and uses of funds and any expense fluctuations are explained.

                                    Evidence of funds constituting the source of funds on the effective date

    B. OPTIONAL

            Exhibit F:              Other Exhibits: Treatment of executory contracts and leases

            Exhibit G:     Other Exhibits: Administrative Claims


            Exhibit H:     Other Exhibits:




      Date: 11/30/23                                                   /s/ Leslie A. Cohen
                                                                       Signature of attorney for proponent


                                                                       Leslie A. Cohen, LESLIE COHEN LAW PC
                                                                       Printed name of attorney for proponent




                         This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.
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                               EXHIBIT A
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                   EXHIBIT A - DECLARATION IN SUPPORT OF DISCLOSURE STATEMENT AND PLAN




         I, Jeff Tinsley, have personal knowledge of the facts set forth in this declaration.

    1. The name of the individual(s) who prepared this Disclosure Statement and Plan is(are) Anthony Mazzarella.

    2. The source of all financial data is the Debtor’s books and records.

    3. All facts and representations in the Disclosure Statement and Plan are true to the best of my knowledge.

    4. No fact has been omitted that is material to a claimant or equity security holder in voting to accept or reject

         the proposed Plan.

    5. The name of the person(s) who prepared the cash flow projections and the other financial documents is(are)

         Sam Condoretti (Controller) and Anthony Mazzarella (CFO).

    6. The accounting method(s) used to prepare the cash flow projections and other financial documents is(are)

         GAP and/or cash basis.



    I declare under penalty of perjury under the laws of the United States that the following statements are true and

    based upon personal knowledge.



Date: 11/30/2023
                                                                     Signature of Declarant




                       This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.
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                               EXHIBIT B
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                                                  Schedule              Scheduled            Proposed         Proposed   Proposed         Proposed Allowed Disputed
                                                  d as     Scheduled as as         Proof of Allowed Tax       Allowed    Allowed Priority General          General        Intend to
Class   Name                                      Disputed Unliquidated Contingent Claim No Priority          Secured    Unsecured        Unsecured        Unsecured      Object      NOTES
Tax     Los Angeles County Tax Collector                                                   1         3,357.80
1a      Annette Howard                                                                                                        $1,980.87
1a      PONNUSWAMY PADMANABHAN                                                                                                $7,741.81
1a      PRAVIN GEORGE                                                                                                         $9,500.75
1a      Jeffrey Tinsley                                                                                                      $25,433.08
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      ANTHONY MAZZARELLA                                                                                                                                                            remain employed after sale
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      CHRISTIAN SANTOS                                                                                                                                                              remain employed after sale
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      DAVID WOLFE                                                                                                                                                                   remain employed after sale
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      DESIREE KINSLEY                                                                                                                                                               remain employed after sale
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      MINH TRAN                                                                                                                                                                     remain employed after sale
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      RICK BURSKY                                                                                                                                                                   remain employed after sale
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      RONALD AYSON                                                                                                                                                                  remain employed after sale
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      SAM CONDORETTI                                                                                                                                                                remain employed after sale
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      Sharyn Eles                                                                                                                                                                   remain employed after sale
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      SOMPOP WACHIRALARPPAITOON                                                                                                                                                     remain employed after sale
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      SRIKANTHCHAKILAM                                                                                                                                                              remain employed after sale
                                                                                                                                                                                      Accrued PTO claim not being paid under
                                                                                                                                                                                      plan because employee is anticipated to
1a      TARUN TYAGI                                                                                                                                                                   remain employed after sale
2b      Lexis Nexis                                                                        4                                                                   630,930.00 Yes
2b      Superteamz LTD (Mark Brooks)              Yes                                      5                                                                     9,000.00 Yes
2b      7984391 Canada Inc. From FlexPay                                                   6                                                       12,500
2b      Seyfarth Shaw LLP                                                                  7                                                   169,889.88
2b      Oracle America Inc.                                                                9                                                    11,779.26
2b      ART SHAPIRO                               Yes      Yes          Yes               10                                                                  2,275,000.00 Yes
2b      Mayer Brown LLP                                                                   11                                                   132,711.02
2b      John Bonell                                                                       12                                                    21,667.00
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2b   Monika Cichowlas                                                         13                         21,667.00
2b   Joseph Cohen c/o Helen I. Zeldes             Yes   Yes   Yes             14                                      1,000,000.00 Yes
2b   DE Park Avenue 1100, LLC                                                 15                        623,613.52
2b   Kristen Schwarze                             Yes   Yes   Yes             16                                        13,000.00 Yes

2b   Brion Finlay                                 Yes   Yes   Yes             17                                      4,000,000.00 Yes
2b   Accertify, Inc.                                                          19                            233.75
2b   Google Inc.                                                              20                        120,385.30
2b   Employment Development Department                                        21                           533.68
2b   Mark Holbrow                                 Yes   Yes   Yes             22                                        50,000.00 Yes
2b   NuBreed Digital Media                                                    23                         21,083.00
2b   Epstein Becker & Green, P.C.                                             26                        434,933.63
2b   Lesley Kaplan                                Yes   Yes   Yes             28                                       200,000.00 Yes

2b   William Bonvie                               Yes   Yes   Yes             29                                       200,000.00 Yes
2b   Estate of Deidre Dennis                                                  30                                       200,000.00 Yes
2b   Jeffrey Tinsley (indemnification claim)                                  31                        887,500.00
2b   Maribel Deyerler                                                 8, 25                              21,667.00
2b   Jeffrey Tinsley                                                                                    $34,965.22
2b   Adswerve, Inc.                                                                                          $0.00
2b   Alison Bockius                               Yes   Yes   Yes                                            $0.00
2b   Amazon Capital Services, Inc.                                                                         $324.05
2b   Angela Faunce                                Yes   Yes   Yes                                            $0.00
2b   Annette Howard                                                                                      $1,435.97
2b   Annette Howard                                                                                        $438.94
2b   ANTHONY MAZZARELLA                                                                                  $6,564.01
2b   ARDAVAN MOFIDISHIRAZI                        Yes   Yes   Yes                                            $0.00
2b   AT & T Mobility                                                                                     $6,301.00

2b   Aviva Kellman                                Yes   Yes   Yes                                            $0.00
2b   Barracuda Networks, Inc.                                                                               $49.50
2b   BMS Fiduciary Services LTD (Fast EU Corps)                                                          $2,216.04
2b   Burr & Forman LLP                                                                                   $6,193.50
2b   Catchpoint Systems, Inc.                                                                            $3,016.50
2b   CDW                                                                                                  -$252.68
2b   Cloudflare, Inc                                                                                     $2,400.00
2b   COGENT COMMUNICATIONS, INC                                                                            $625.00

2b   David A. Rancourt                            Yes   Yes   Yes                                             $0.00
2b   David Madgett                                Yes   Yes   Yes                                             $0.00
2b   Digital 2260 East El Segundo, LLC                                                                   $17,948.20
2b   DLA Piper LLP (US)                                                                               $1,040,357.41
2b   Doll Amir & Eley LLP                                                                                $15,475.00
2b   Ethoca Limited                                                                                      $26,825.00
2b   Fast People Search.com, USPhoneBok.com                                                              $18,651.33
2b   FedEx                                                                                                   $70.77
2b   Highmark Companies, LLC                                                                             $14,922.94
2b   Idea Launch, Inc (Growth Rocket)                                                                    $17,703.00
2b   InboxAlly Inc.                                                                                      $20,000.00
2b   Industrious National Management Company                                                              $4,600.00
2b   Integrated Media Technologies, Inc                                                                   $4,755.64
2b   Internap Network Services                                                                            $9,279.27
2b   James Uharriet                               Yes   Yes   Yes                                             $0.00
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2b   Jeffrey Tinsley                                                                                                           $587,500.00
2b   Jeffrey Tinsley                                                                                                             $1,500.00
2b   Jody Sectzer                                                                                                                  $501.50
2b   Karen Evans                                       Yes   Yes   Yes                                                               $0.00
2b   Kristina Wuest                                    Yes   Yes   Yes                                                               $0.00
2b   Microsoft Online, Inc.                                                                                                         -$2.25

2b   MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO                                                                                   $8,860.78
2b   Mississippi Tornado Alley LLC                                                                                               $9,738.24
2b   Morrison & Foerster LLP                                                                                                    $64,326.90
2b   MX ToolBox, Inc.                                                                                                              $330.00
2b   NakedFront LLC                                                                                                                 -$0.03
2b   Neustar Information Services, Inc.                                                                                         $83,333.36

2b   Nixon Peabody LLP                                                                                                          $20,000.00
2b   One Touch Solutions, Inc.                                                                                                     $198.21
2b   Pitney Bowes                                                                                                                 -$114.50
2b   PONNUSWAMY PADMANABHAN                                                                                                      $1,435.90
2b   PRAVIN GEORGE                                                                                                               $8,859.33
2b   PROTIVITI INC                                                                                                              $34,615.50
2b   RAJNISH SINHA                                                                                                               $2,275.00
2b   Sean Whiteley                                                                                                               $1,500.00
2b   State of Delaware                                                                                                           $2,320.00
2b   Telesign Corporation                                                                                                           $16.75
2b   TransUnion Risk and Alternative Data Solutions,                                                                            $37,550.00
     True People Search.com dba Free Data Services
2b   LLC                                                                                                                         $1,047.42
2b   Validity Inc.                                                                                                              $64,250.00
2b   Verifi, Inc.                                                                                                               $14,662.84
2b   Verizon Digital Media Services Inc.                                                                                          -$555.43
2b   WageWorks, Inc                                                                                                                $232.72
     Website Movers International, LLC -WSM dba
2b   Connectria TopCo, LLC                                                                                                       $4,085.00
2b   Wells Fargo V Purchasing Card-Diana                                                                                         $1,794.05
2b   WF Visa Corp. Card - JT                                                                                                       $381.85
2b   Wilson Elser Moskowitz Edelman & Dicker LLP                                                                                $11,628.00
2b   Windstream - Paetec                                                                                                         $3,192.99
2b   Wisteria Limited                                                                                                            $7,513.76
2b   WSM International                                                                                                             $101.25
2b   WSM International                                                                                                             $618.75
2b   Zaius, Inc.                                       Yes                                                                     $177,750.00
2b   Department of Treasury-IRS                                                 3                                                                535,865.52 Yes
2b   Wells Fargo N.A.                                                           2                                                 2,638.55
2c   United States of America                                                  18                                            25,779,301.34
                                                                                                                                                                     Arrearages will be cured on Effective
3a   De Lage Landen Financial Services, Inc.                                   24                                                                                    Date and assigned to buyer
                                                                                                                                                                     Arrearages will be cured on Effective
3b   Dell Financial Services LLC                                                                                                                                     Date and assigned to buyer
     TOTALS                                                                         $   3,357.80   $   -   $   44,656.51   $ 30,668,417.43   $ 9,113,795.52
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                               EXHIBIT C
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Estate Assets




Current Asset                                                                   Estimated Current Value
Cash in accounts                                                                                     361,475.20
Credit Card processor reserves                                                                       367,170.00
PayPal reserve                                                                                       131,678.44
Lease deposit with Industrious                                                                          6,900.00
Licenses                                                                                             129,914.00
Interests in incorporated businesses                                                                        0.00
Lease to own servers (Secured creditor: Dell); Leased copier ) De Lage Landen) and misc. employee computers
                                                                                                          358.21
Software patents; MyLife trademark                                              unknown
Domain names                                                                    unknown
Tax refund (not yet received)                                                                         40,000.00
Employee retention credit (not yet received)                                                         299,858.83


TOTAL                                                                                             1,337,354.68
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                        PLAN PROJECTIONS
       Funds
                        Cash on hand                                 350,000.00
                        Tax refund                                     40,000.00
                        Employee retention credit                    299,858.83
                        Sale Proceeds                      3,000,000 - 3,700,000
                        Adversary recovery                         1,166,666.66
                        TOTAL                       4,856,525.49- $5,556,525.49

       Disbursements
                        Cure Payments                                   8352.56
                        Administrative Claims                      3,653,492.56
                        Tax Claims                                     3,357.80
                        Class 1a                                      44,656.51
                        Class 2b                         182,799.89- 294,392.91
                        Class 2c                       963,866.17- 1,552,273.15
                        TOTAL                       4,856,525.49- $5,556,525.49
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                               EXHIBIT E
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Mylife.com, Inc.
Balance Sheet
December 31, 2022

ASSETS
  Current Assets
    Bank                                            $141,685
    Other Current Asset                           $1,707,012
  Total Current Assets                            $1,848,697
  Fixed Assets
    1500 - Tangible Fixed Assets                  $5,940,718
    1550 - Capitalized Product Development        $4,281,795
    1570 - Intangibles                           $11,456,300
    1600 - Accumulated Depreciation             ($10,175,281)
    1670 - Accumulated Amortization             ($10,091,610)
  Total Fixed Assets                              $1,411,922
  Other Assets
    1710 - Lease Deposit-LT                          105,757
    2410 - Deferred Tax Asset - Federal            ($192,180)
    2420 - Deferred Tax Asset - State              2,049,195
  Total Other Assets                              $1,962,772
Total ASSETS                                      $5,223,390
Liabilities & Equity
  Current Liabilities
    Accounts Payable                              $4,246,407
    Other Current Liability                      $17,816,655
  Total Current Liabilities                      $22,063,062
  Long Term Liabilities
    2800 - Deferred Liabilities - Long Term         $65,012
  Total Long Term Liabilities                       $65,012
  Equity
    3100 - Common Stock                                  925
    3200 - Preferred Stock                                30
    3300 - Additional Paid-In Capital              3,345,224
    Retained Earnings                           ($19,813,135)
    Net Income                                      (437,727)
  Total Equity                                  ($16,904,683)
Total Liabilities & Equity                        $5,223,390
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Mylife.com, Inc.
Income Statement
December 31, 2022

 Income
    4100 - Subscription Revenue                  $17,081,232
    4300 - Other Revenue                                $551
 Total - Income                                  $17,081,783
 Cost Of Sales
    5100 - Cost of Subscription Revenue           $7,560,413
    5300 - Cost of Other Revenue                      $6,201
 Total - Cost Of Sales                            $7,566,614
 Gross Profit                                     $9,515,169
 Expense
    6000 - Marketing and Advertising                $549,886
    7000 - Payroll and Benefits                   $5,535,166
    7500 - Facilities                               $402,750
    8000 - Office Expenses, Insurance & Equip       $778,684
    8400 - Professional Services                  $2,202,821
    8500 - Travel and Entertainment                  $38,390
    8900 - Other Operating Expense                  $389,515
    9100 - Depreciation                              $44,564
    9200 - Amortization                              $11,313
 Total - Expense                                  $9,953,088
Net Ordinary Income                                ($437,919)
Other Income and Expenses
 Other Income
    9580 - Other Income                               $8,292
 Total - Other Income                                 $8,292
 Other Expense
    9800 - Interest Expense                           $5,780
    9900 - Income Taxes                               $2,320
 Total - Other Expense                                $8,100
Net Other Income                                        $192
Net Income                                         ($437,727)
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Mylife.com, Inc.
Balance Sheet
October 31, 2023

ASSETS
  Current Assets
    Bank                                                $164,667
    Other Current Asset                               $1,163,398
  Total Current Assets                                $1,328,065
  Fixed Assets
    1500 - Tangible Fixed Assets                       $5,940,718
    1550 - Capitalized Product Development             $4,281,795
    1570 - Intangibles                                $11,456,300
    1600 - Accumulated Depreciation                  ($10,204,950)
    1670 - Accumulated Amortization                  ($10,096,457)
  Total Fixed Assets                                   $1,377,405
  Other Assets
    1710 - Lease Deposit-LT                              105,757
    2410 - Deferred Tax Asset - Federal                ($192,180)
    2420 - Deferred Tax Asset - State                  2,049,195
  Total Other Assets                                  $1,962,772
Total ASSETS                                          $4,668,242
Liabilities & Equity
  Current Liabilities
    Accounts Payable                                  $4,672,828
    Other Current Liability                          $18,432,275
  Total Current Liabilities                          $23,105,103
  Long Term Liabilities
    2800 - Deferred Liabilities - Long Term              $65,012
  Total Long Term Liabilities                            $65,012
  Equity
    3100 - Common Stock                                       925
    3200 - Preferred Stock                                     30
    3300 - Additional Paid-In Capital                   3,345,224
    Retained Earnings                                ($20,250,862)
    Net Income                                         (1,597,189)
  Total Equity                                       ($18,501,872)
Total Liabilities & Equity                             $4,668,242
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Mylife.com, Inc.
Income Statement
Through October 31, 2023

 Income
    4100 - Subscription Revenue                  $3,877,073
 Total - Income                                  $3,877,073
 Cost Of Sales
    5100 - Cost of Subscription Revenue          $1,903,390
 Total - Cost Of Sales                           $1,903,390
 Gross Profit                                    $1,973,683
 Expense
    6000 - Marketing and Advertising                 $1,820
    7000 - Payroll and Benefits                  $3,119,724
    7500 - Facilities                               $55,309
    8000 - Office Expenses, Insurance & Equip      $318,648
    8400 - Professional Services                    $13,109
    8500 - Travel and Entertainment                    $485
    8900 - Other Operating Expense                  $19,479
    9100 - Depreciation                             $29,669
    9200 - Amortization                              $4,848
 Total - Expense                                 $3,563,091
Net Ordinary Income                             ($1,589,408)
Other Income and Expenses
 Other Expense
    9800 - Interest Expense                          $7,761
    9900 - Income Taxes                                 $20
 Total - Other Expense                               $7,781
Net Other Income                                    ($7,781)
Net Income                                      ($1,597,189)
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                               EXHIBIT F
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           Assumption and Rejection of Executory Contracts and Leases

           OTHER PARTY TO CONTRACT                             STATUS/INTENT
           Accertify                                           Terminated pre-petition; Currently disputed and will object to claim
           Adswerve                                            Terminated post-petition; reject
           Algolia                                             Terminated post-petition; reject
           Catchpoint                                          Terminated post-petition; reject
           De Lage Landen Financial Services, Inc.             Anticipated to be assumed and assigned as part of sale
           Dell Financial Services                             Anticipated to be assumed and assigned as part of sale
           Digital Realty Trust                                Anticipated to be assumed and assigned as part of sale
           iOPEX                                               Rejected by Court order
           Lexis Nexis                                         Terminated; Currently disputed and will object to claim
           Neustar Information Services, Inc.                  Terminated pre-petition; reject
           Oracle                                              Anticipated to be assumed and assigned as part of sale
           Windstream                                          Terminated post-petition; reject
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                                        ADMINISTRATIVE AND SUPER PRIORITY CLAIMS

Vendor                                                                     Undisputed Claims Disputed Claims Notes
Accertify, Inc.                                                                                     49,583.33
Adswerve, Inc.                                                                      25,000.00
ALGOLIA, INC.                                                                       74,603.37
Amazon Capital Services, Inc.                                                           83.14
Amazon Web Services, Inc                                                             8,489.53
AT & T Mobility                                                                        491.41
Barracuda Networks, Inc.                                                                99.00
BPM LLP                                                                              9,082.00
Burr & Forman LLP                                                                                    6,741.50
Catchpoint Systems, Inc.                                                             3,016.50
COGENT COMMUNICATIONS, INC                                                           1,250.00
Commutifi                                                                                0.00
Connectria, LLC                                                                     16,731.17
Digital 2260 East El Segundo, LLC dba Digital Realty Trust, LP                     133,721.04
DLA Piper LLP (US)                                                                                   6,801.65
Doll Amir & Eley LLP                                                                                    55.00
EdgeCast Inc.                                                                        7,289.25
Employment Development Department                                                   23,490.66                 Claim filed
Ethoca Limited                                                                      66,425.00
Extra Space 1987                                                                       358.10
Fast People Search.com, USPhoneBok.com dba Mississippi Tornado Alley LLC             9,738.24
FedEx                                                                                  148.09
First Insurance Funding Corp                                                             0.00
Google Inc.                                                                         21,004.73
Hartford Group                                                                         794.24
Humana Dental Ins Co.                                                                1,985.82
Integrated Media Technologies, Inc                                                       0.00
iOPEX Technologies, Inc.                                                           288,959.00
Jeff Tinsley (post petition indeminfication claim through confirmation)*         1,850,625.00                 Motion filed
Jody Sectzer                                                                           956.00
John McNabb                                                                            212.09
Kilpatrick Townsend & Stockton, LLP                                                                  6,690.00
Larson LLP - approved and due*                                                     184,871.30
Larson LLP - estimated fees through confirmation*                                  135,000.00
Leslie Cohen Law PC - approved and due*                                            101,599.47
Leslie Cohen Law PC - estimated fees through confirmation*                         135,000.00
Lexis Nexis                                                                                      2,046,112.00 filed as Claim 27
McGuire Law, P.C.                                                                                   43,332.66
Morrison & Foerster LLP                                                                                350.00
Neustar Information Services, Inc.                                                  20,833.34
New Tangram LLC dba Tangram                                                            362.88
Nixon Peabody LLP                                                                                   10,000.00
NTHPHASE SOFTWARE SOLUTIONS Pvt Ltd                                                 71,064.00
One Touch Solutions, Inc.                                                              656.84
Oracle America Inc.                                                                 22,284.52
Pitney Bowes                                                                            11.09
Pitney Bowes Global Financial Svs LLC                                                   18.44
Port53 Technologies, Inc                                                                 0.00
State of Delaware                                                                    2,320.00
Court-approved Super Priority Loan                                                 406,000.00
Telesign Corporation                                                                     9.52
Tiggee, LLC                                                                              0.00
TransUnion Risk and Alternative Data Solutions, Inc.                                     0.00
TrustedSite LLC                                                                      1,967.60
Tyler Barnett PR LLC                                                                 4,000.00
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Unitas Global Inc.                                                    9,139.00
Verifi, Inc.                                                                        99,460.94
Vision Service Plan                                                     310.62
Vital Records Holding, LLC                                                0.55
W. Beaumont LLC                                                                     21,666.34
WageWorks, Inc                                                          216.00
Website Movers International, LLC -WSM dba Connectria TopCo, LLC        720.00
Wilson Elser-Art Shapiro Case                                                       11,742.00
Windstream - Paetec                                                   4,664.01
Wingify Software Private Limited                                      6,000.00
Wisconsin Department of Revenue                                          20.00
Wisteria Limited                                                                       168.00
Woodruff-Sawyer & Co.                                                  1,870.00
TOTAL                                                              3,653,492.56   2,302,703.42
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                                       PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
1615-A Montana Avenue, Santa Monica, CA 90403


A true and correct copy of the foregoing document entitled: CHAPTER 11 DISCLOSURE STATEMENT AND PLAN OF
REORGANIZATION [11 U.S.C. §§ 1123, 1125] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/30/23, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Julian K Bach Julian@Jbachlaw.com, julianbach@sbcglobal.net
Paul A Beck pab@pablaw.org, raychael@pablaw.org
Shraddha Bharatia notices@becket-lee.com
Bradley E Brook bbrook@bbrooklaw.com, paulo@bbrooklaw.com;brookecfmail@gmail.com
Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
Jamie P Dreher jdreher@downeybrand.com, mfrazier@downeybrand.com;courtfilings@downeybrand.com
Arthur A Greenberg agreenberg@gblawllp.com, mkerpik@gblawllp.com
Dare Law dare.law@usdoj.gov
Leah Victoria Lerman leah.v.lerman@usdoj.gov
Jeremy H Rothstein jrothstein@gblawllp.com, msingleman@gblawllp.com;rsoll@gblawllp.com
Jolene Tanner jolene.tanner@usdoj.gov, USACAC.criminal@usdoj.gov
United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
Christopher VanDeusen christopher.k.vandeusen@usdoj.gov
Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov
                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 11/30/23, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.
    Office of the United States Trustee
    915 Wilshire Blvd., Ste. 1850
    Los Angeles, CA 90017
                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                              Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 11/30/23         Clare Hendricks                                        /s/ Clare Hendricks
 Date                     Printed
                          Printed Name
                                  Name                                           Signature



                       This form has been approved for use in chapter 11 cases assigned to Judge Vincent P. Zurzolo.
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